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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

 Torrie Johnson,

                Plaintiff,
                                                              Civil Action No.: 1-18-cv-01862-CCB
                vs.

 Johns Hopkins Carey Business School, et al.

                Defendants.


           MEMORANDUM IN SUPPORT OF INDIVIDUAL DEFENDANTS’
               MOTION TO DISMISS PLAINTIFF’S COMPLAINT

       Defendants Brenna Alexander and Samuel Klein, through their undersigned counsel and

pursuant to Federal Rule of Civil Procedure 12(b)(6), submit this Memorandum in Support of

their Motion to Dismiss the Complaint with prejudice as to each of them.

  I.   Factual Background

       On June 21, 2018, plaintiff Torrie Johnson filed a one-count complaint against defendants

the Johns Hopkins University, Brenna Alexander, and Samuel Klein. Dkt. No. 1. Ms. Johnson

alleges that Samuel Klein interviewed her for a position as Budget Specialist at the Johns

Hopkins University Carey Business School. Ms. Johnson alleges further that, after offering her

the position, defendant Brenna Alexander inquired about her age multiple times, prompting Ms.

Johnson to inform her that she was well over 40 years old. Shortly thereafter, Ms. Alexander
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rescinded the employment offer allegedly because of Ms. Johnson’s age and in violation of the

Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. §§ 621 et seq.

 II.    Standard

        The purpose of a Rule 12(b)(6) motion is to test the sufficiency of a complaint. It does

not resolve disputes regarding factual issues, the merits of a claim, or the applicability of

defenses. Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999) (quoting Republican

Party v. Martin, 980 F.2d 943, 952 (4th Cir. 1992)). As such, a Rule 12(b)(6) motion should be

granted if, after accepting all well-pleaded allegations in the plaintiff’s complaint as true and

drawing all reasonable factual inferences in the plaintiff’s favor, it is plausible that the factual

allegations in the complaint are enough to raise a right to relief above the speculative level.

Vance v. CHF Intern., 914 F. Supp. 2d 669, 677 (D.Md. 2012); Andrew v. Clark, 561 F.3d 261,

266 (D.Md. 2009).

III.    Legal Argument

        Taking all the allegations of the Complaint as true, Ms. Johnson is still not entitled to

relief from individual defendants Brenna Alexander and Samuel Klein because the Fourth Circuit

does not recognize individual liability for an employer’s agent under the ADEA. The Complaint

should be dismissed as to each of them.

        In Birkbeck v. Marvel Lighting Corp., 30 F.3d 507 (4th Cir. 1994), plaintiffs sued their

former employer and a fellow employee for discrimination in violation of the ADEA. The parties

tried the case to a jury which awarded the plaintiffs damages but did not find that the defendants

had willfully violated the law. On a motion for judgment as a matter of law, the district court

found against the plaintiffs, prompting their appeal to the Fourth Circuit.




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         Preliminarily, the Fourth Circuit addressed whether the plaintiffs’ fellow employee was a

proper defendant. The Court acknowledged that several courts rely upon the use of the word

“agent” in 29 U.S.C. § 630(b) to create liability for individual employees. But the Fourth Circuit

disagreed. The Court observed that § 630(b) restricts the application of the ADEA to those

“employers” who employ twenty or more workers, presumably to reduce the burden of the

ADEA on small businesses. Contemplating Congress’ intent, the Court reasoned it would be

incongruous to hold that the ADEA does not apply to an employer with only 10 employees but

that it does apply to a person who supervises 10 employees if that person works for a company

that has 20 or more employees. Instead, the Court reasoned, § 630(b) merely expresses liability

for an employer where a discriminatory personnel action is taken by its agent. The Birkbeck

Court thus held that the ADEA limits civil liability to the employer and that the individual

employee was not a proper defendant in that case. Id. at 510-11.

         In this case, Ms. Johnson identifies two Johns Hopkins University employees as

defendants but neither of them is an appropriate defendant. Because Ms. Alexander and Mr.

Klein cannot be held liable under Birkbeck, the complaint should be dismissed as to each of

them. 1 See id. at 511; see also Scott v. Maryland State Dep’t of Labor, 673 Fed. Appx. 299, No.

15-1617 (4th Cir. 2016) (affirming dismissal of the plaintiff’s ADEA claim against the individual

defendants) (citing Birkbeck, 30 F.3d at 510-11); Gross v. Morgan State Univ., 308 F. Supp. 3d

861, 866 (D.Md. 2018) (“the Fourth Circuit has ruled that ADEA liability is limited to the

employer . . . and, consequently, Brown is not a proper defendant in the instant case even if she



1 In the alternative, the Complaint should be dismissed because Ms. Johnson failed to name either of them as
respondents in the Charge of Discrimination she filed with the Equal Employment Opportunity Commission. See
Charge of Discrimination attached hereto as Exhibit A. This omission constitutes a failure to exhaust her administrative
remedies sufficient for the Complaint to be dismissed as to each of them. See Causey v. Balog, 929 F. Supp. 900, 906 n.3
(D.Md. 1996) (noting that the plaintiff’s “ADEA and Title VII claims against the individual defendants fail for the
additional reason that he did not name them as respondents in his administrative charges.” (citation omitted)).

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were not clothed in sovereign immunity.”) (citing Birkbeck, 30 F.3d at 510-11); Ferebee v. Dep’t

of Human Relations Comm’n, 2018 WL 731682, No. TDC-16-3803, *2 (D.Md. Feb. 5, 2018)

(dismissing ADEA claim against individual defendant).

IV.    Conclusion

       The issue before the Court is straightforward. There is no liability for individuals under

ADEA decisional law in this Circuit. The Complaint must be dismissed with prejudice as to

both Brenna Alexander and Samuel Klein.

Date: November 5, 2018                               Respectfully submitted,
                                                      s/ Jennifer DaCosta
                                                     Jennifer DaCosta (Federal Bar No. 19562)
                                                     Johns Hopkins University
                                                     Office of the Vice President
                                                     and General Counsel
                                                     3400 N. Charles Street
                                                     Garland Hall 113
                                                     Baltimore, Maryland 21218
                                                     Tel: (410) 516-8128
                                                     Fax: (410) 516-5448
                                                     jdacosta@jhu.edu

                                                     Attorney for Defendants
                                                     The Johns Hopkins University,
                                                     Brenna Alexander, and Samuel Klein




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                              CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 5th day of November, 2018, I caused a true and correct copy
of the foregoing to be served via first class mail on:
                            Torrie Johnson
                            346 E. Belvedere Avenue
                            Baltimore, Maryland 21212

                            Pro se Plaintiff


                                                         s/ Jennifer DaCosta
                                                        Jennifer DaCosta




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